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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
TRACEY AMBEAU HANSON, et al.         )
                                     )
                  Plaintiffs,        )
                                     )
      v.                             )     Civil Action No. 09-00454 (RMU)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
                  Defendants.        )
____________________________________)

                                      DEFENDANTS’ REPLY

        Pursuant to Fed. R. Civ. P. 7(d), defendants (collectively, “the District”) hereby briefly

reply to plaintiffs’ opposition to defendants’ motion to consolidate, as follows:

        1. Plaintiffs’ pro forma opposition—barely three pages in length—contains no citations

to controlling case law. Plaintiffs’ Motion for Summary Judgment, filed within minutes of its

instant opposition, is an obvious attempt to do an “end run” around the District’s motion to

consolidate and force a precipitate response to the complicated issues underlying both cases.

        2. Plaintiffs assert without explanation that “consolidation would be counter-productive

to the Court’s efficient resolution of the litigation.” Opp. at 2.

        3. Plaintiffs do not dispute that “the suits are both in their nascent stages and have

common parties and allegations . . . .” Blasko v. WMATA, 243 F.R.D. 13, 16 (D.D.C. 2007).

Plaintiffs concede that they, like the plaintiffs in Heller v. District of Columbia, No. 08-01289

(RMU), challenge the District’s use of the “California Roster of Handguns Certified for Sale” in

the Firearms Control Amendment Act of 2008, D.C. Act 17-708. Plaintiffs, by filing a separate

dispositive motion at this stage, on the heels of their opposition, also concede that no factual

discovery is necessary or warranted.
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       4. Both the Hanson and Heller plaintiffs demand the same relief—a declaratory

judgment that the disputed provisions of District law violate the Second Amendment, and

permanent injunctive relief enjoining the District from enforcing those provisions.

       5. “[C]ourts weigh considerations of convenience and economy against considerations

of confusion and prejudice.” Blasko v. WMATA, 243 F.R.D. 13, 15 (D.D.C. 2007) (quoting

Chang v. United States, 217 F.R.D. 262, 265 (D.D.C. 2003)).

       6. Plaintiffs state, in conclusory fashion, that consolidation here would “tak[e] more

time and Court resources, and leav[e] the litigants less space in which to more fully develop

arguments with respect to each particular theory . . . .” Opp. at 3. Plaintiffs have it exactly

backwards.

       7. Plaintiffs purport not to know what “benefit” the District would gain from

consolidation, but it should be obvious that consolidation would take less time and resources

(both as to the District and the Court, if not to plaintiffs), and would give “more space” for all

parties to fully develop their arguments, especially as the Heller plaintiffs have already proposed

June 15, 2009, as the date by which the parties would submit their cross-dispositive motions.

       8. The instant plaintiffs apparently seek to confine the District to the considerably

shortened time frame envisioned by their motion. Of course, if the Court grants the motion to

consolidate, the instant plaintiffs would have the benefit of consulting and conferring with the

experienced counsel in Heller to further refine and augment their arguments regarding the

California Roster. To the extent the Heller plaintiffs will raise and argue additional theories, that

effort obviously will have no impact on the instant plaintiffs but for the possibility of a brief

delay in the resolution of their claims. What the District would gain in consolidation is the

opportunity to focus its arguments in one set of briefs, instead of responding on two different




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schedules to arguments that will be (at least in part) substantially similar. The Court would

similarly benefit by having only two sets of briefs on these Second Amendment issues and a

coordinated briefing schedule.

       9. In light of the above, and the arguments in its motion, the District avers that

consolidation would serve the interests of judicial economy and reduce the litigation burden on

the defendants and the Court. “[C]onsolidation would increase efficiency . . . by achieving

judicial economy in the adjudication of potentially dispositive motions involving similar material

facts . . . and common questions of law.” Chang, 217 F.R.D. at 266–67.


DATE: April 15, 2009                 Respectfully submitted,

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